                             Case 4:18-cr-00512-SWW Document 75 Filed 10/16/20 Page 1 of 7
AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet I



                                            UNITED STATES DISTRICT COURT
                                                            Eastern District of Arkansas
                                                                                          AMENDED
                                                                           )
               UNITED STA TES OF AMERICA                                   )       JUDGMENT IN A CRIMINAL CASE
                                    V.                                     )
                            JP SMITH, Ill                                  )
                                                                           )       Case Number: 4:18-CR-00512-SWW-1
                                                                           )       USM Number: 32246-009
                                                                           )
                                                                           )        Crystal Okoro/Lisa Peters (appointed)
                                                                           )       Defendant's Attorney
THE DEFENDANT:
lt'.l' pleaded guilty to count(s)        1 of the Superseding Indictment                                             FILED
                                                                                                               U.S. DISTRICT COURT
                                                                                                           EASTERN DlSTR!CT ARKANSAS
D pleaded nolo contendere to count(s)
   which was accepted by the court.                                                                                  OCT 16 2020
D was found guilty on count(s)
   after a plea of not guilty .

The defendant is adjudicated guilty of these offenses:
                                                                                                          :~es~•·
                                                                                                          y
                                                                                                                                          CLERK
                                                                                                                                      DEP CLERK



Title & Section                     Nature of Offense                                                         Offense Ended
21 U.S.C. § 841 (a)(1)              Possession with Intent to Distribute Cocaine                              11/6/2019              1s

and (b)(1 )(C)                      a Class C Felony



       The defendant is sentenced as provided in pages 2 through          _ _7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
fll Count(s)      1, 2,2s,3,3s,4,4s                      Dis       fll are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the comt and United States attorney of material changes in economic circumstances.

                                                                                                          9/29/2020
                                                                         Date of Imposition of Judgment



                                                                                                   /s/ Susan Webber Wright
                                                                         Signature of Judge




                                                                                  Susan Webber Wright, United States District Judge
                                                                         Name and Title of Judge


                                                                                                          10/16/2020
                                                                         Date
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AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment
                                                                                                   Judgment - Page -=
                                                                                                                    2 - of   7
 DEFENDANT: JP SMITH, Ill
 CASE NUMBER: 4:18-CR-00512-SWW-1

                                                          IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:

 TWENTY-SEVEN (27) MONTHS CONSECUTIVE TO THE SENTENCE NOW BEING SERVED AT ARKANSAS
 DEPARTMENT OF CORRECTIONS



      itJ The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends that defendant be incarcerated in Memphis or Forrest City to be close to family in Northeast
         Arkansas; and that defendant participate in residential or non-residential substance abuse treatment, and
         educational/vocational programs during incarceration. The Court has no objection for reduction of sentence if successful
         drug treatment program is completed. The Court has no objection to State releasing defendant prior to defendant serving
         state term of imprisonment.
      Ill The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall sun-ender to the United States Marshal for this district:
          D at                                   D a.m.     0 p.m.       on
          D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0 before 2 p.m. on

          0 as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                        to

at ---------------- , with a certified copy of this judgment.



                                                                                                UNITED STA TES MARSHAL


                                                                        By
                                                                                             DEPUTY UNITED ST ATES MARSHAL
                           Case 4:18-cr-00512-SWW Document 75 Filed 10/16/20 Page 3 of 7

AO 2458 (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                      Judgment-Page __
                                                                                                                     3_ of              7
DEFENDANT: JP SMITH, Ill
CASE NUMBER: 4:18-CR-00512-SWW-1
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 THREE (3) YEARS




                                                    MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             0 The above drug testing condition is suspended, based on the comt's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    0 You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (check ifapplicable)
5.    � You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.    D You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 3A - Supervised Release
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                                                                                                                                 of - - - --
DEFENDANT: JP SMITH, Ill
CASE NUMBER: 4:18-CR-00512-SWW-1

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
         frame .
2.       After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
         when you must report to the probation officer, and you must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
         cou1i or the probation officer.
4.       You must answer truthfully the questions asked by your probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
         anangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
         the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
         hours of becoming aware of a change or expected change.
6.     · You must allow the probation officer to visit you at any time at your home or-elsewhere, and you must permit the probation officer to
         take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
         doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
         you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
         responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
         days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
         becoming aware of a change or expected change.
8.       You must not communicate or interact with someone you know is engaged in criminal activity . lfyou know someone has been
         convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
         probation officer.
9.      If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.     You must not own, possess, or have access to a firearm , ammunition, destructive device, or dangerous weapon (i.e., anything that was
         designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
        first getting the permission of the court.
12.     If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
        require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
        person and confirm that you have notified the person about the risk .
13.      You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                       Date
                                                                                                                   - - -- - - - - - - - - -
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 30 - Supervised Release
                                                                                            Judgment-Page _5_ of             7
DEFENDANT: JP SMITH, Ill
CASE NUMBER: 4:18-CR-00512-SWW-1

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. Defendant must contact the U.S. Probation Office in the district to which the defendant is released within 72 hours of
 release from the custody of the Bureau of Prisons and comply with all mandatory and standard conditions that apply.


2. Defendant must participate in a substance abuse treatment program under the guidance and supervision of the
probation office, which may include drug and alcohol testing, out-patient counseling, and residential treatment. The
defendant must pay for the cost of treatment at the rate of $10 per session, with the total cost not to exceed $40 per
month, based on ability to pay as determined by the probation office. In the event the defendant is financially unable to
pay for the cost of the treatment, the co-pay requirement will be waived.

 3. Defendant must abstain from the use of alcohol throughout the term of supervised release and submit to alcohol testing. *
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AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                               Judgment -   Page       6    of        7
 DEFENDANT: JP SMITH, Ill
 CASE NUMBER: 4:18-CR-00512-SWW-1
                                                  CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment               Restitution                 Fine                  AVAA Assessment*                    NTA Assessment**
TOTALS             $    100.00               $                           $                     $                                   $



 D    The detennination ofrestitution is deferred until          -----
                                                                               . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S .C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

Name of Payee                                                    Total Loss***                  Restitution Ordered                Prioritv or Percentage




TOTALS                                $                           0.00              $                      0.00
                                                                                        - -- - -- - - --

D      Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D   the interest requirement is waived for the            D fine       D restitution.
      D    the interest requirement for the          D    fine    D      restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornoiraph_y Victim Assistance Act of 2018 , Pub. L. No. 115-299.
** Justice for Victims ofTraffickin° Act of2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 6 - Schedule of Payments

                                                                                                           Judgment -          7_ of
                                                                                                                        Page _ _                7
 DEFENDANT: JP SMITH, Ill
 CASE NUMBER: 4:18-CR-00512-SWW-1

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A      lt'.i   Lump sum payment of$         100.00             due immediately, balance due


               •    not later than                                 , or
               •    in accordance with
                                          •    C,
                                                     •    D,
                                                               •    E, or     D F below; or
B      •       Payment to begin inunediately (may be combined with          • c,      D D,or      D F below); or
C      D Payment in equal             _ _ _ _ _ (e.g. , weekly, monthly, quarterly) installments of $ ____ over a period of
                             (e .g., months or years), to commence _ _ _ _ _ (e .g., 30 or 60 days) after the date of this judgment; or

D      D Payment in equal             _ __ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ __ over a period of
                             (e.g. , months or years), to commence _ _ _ _ _ (e.g. , 30 or 60 days) after release from imprisonment to a
               term of supervision; or

E      D Payment during the term of supervised release will commence within _ _ _ _ _ (e.g. , 30 or 60 days) after release from
               imprisonment. The comt will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the comt.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D      Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                Joint and Several                 Corresponding Payee,
       (including defendant numbe1)                        Total Amount                     Amount                           if appropriate




D      The defendant shall pay the cost of prosecution.

D      The defendant shall pay the following court cost(s):

i;zJ  The defendant shall forfeit the defendant's interest in the following prope1ty to the United States:
      (1) a F.N. Herstal, 5.7 mm pistol, model Five-Seven, serial number 386333204; (2) a Smith and Wesson, .357 caliber
      revolver, model 66, serial number 39K3359; (3) a Bushmaster, .223 caliber rifle, model XMI 5-E25, serial number
      L05789; and (4) assorted ammunition
Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
